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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

  FEDERAL TRADE COMMISSION,
                                                          Case No.
                          Plaintiff,                      1:20-cv-03590 (JEB)


                 - v. -                                   HON. JAMES E. BOASBERG

  META PLATFORMS, INC.,

                          Defendant.


                                       [PROPOSED] ORDER

        It is hereby ordered that the Non-Parties' Motion for Leave to File a Position Statement on

 the Protective Order is granted.




Dated: ___________________________                 _________________________________
                                                   HON. JAMES E. BOASBERG
                                                   UNITED STATES DISTRICT JUDGE
